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 1            actions are being taken for the exact and explicit purpose of affecting a minor
 2            child’s religious, moral and political beliefs.
 3
 4   4.     The actions referred to above are being executed by the Hon. Robert A. Katzmann2 (“Judge
 5   Katzmann”), the Chief Judge of the United States Court of Appeals for the Second Circuit, and the
 6   Hon. Ronnie Abrams (“Judge Abrams”), a justice of the US District Court for the Southern District
 7   of New York. Their actions are the subject matter of the March 5, 2019 Complaint.
 8
 9   5.       Paragraph 3 of the April 5, 2019 Notice consist of the following:
10
11            With all due respect, the undersigned requests that the Hon. Chief Justice take
12            emergency action to denounce, condemn and admonish Judges Katzmann and
13            Abrams’ conduct and give them warning, in the strongest terms possible, that they
14            must immediately cease their deliberate misconduct and mismanagement of
15            Asensio et al. v. DiFiore et al.3 (hereinafter “Asensio v. DiFiore”). The March 5, 2019
16            Complaint demonstrates that Judges Katzmann and Abrams are making a
17            concerted and collaborative effort to prevent the Asensio v. DiFiore case from
18            being heard by a jury. These judges are aware that the Asensio v. DiFiore case
19            exposes massive corruption in New York County’s domestic relations business and
20            that this business will not survive if it is exposed in the press. Accordingly, they
21            engaged in ex parte communications with Janet Marie DiFiore (“DiFiore”), the
22            Chief Judge of New York State to plant a negative story about the undersigned,
23            and the Asensio v. DiFiore case, in the New York Daily News. The Hon. Chief Justice
24            must take immediate action to remedy the harm they caused the undersigned,
25            and his daughter, and their case, through their behavior to plant their story in the
26            Daily News.
27
28   6.      Asensio v. DiFiore’s cause of action originates from DiFiore’s retaliation against the Plaintiff.
29   As alleged in the Asensio v. DiFiore complaint’s opening paragraph:4

     2
       Judge Katzmann is a member of the US Judicial Conference. The Hon. Chief Justice appointed Justice Katzmann to
     the US Judicial Conference Committee on the judicial branch, where he serves as chair. Justice Katzmann is also a
     member of the Executive Committee of the US Judicial Conference and chair of the Supreme Court Fellows
     Commission.

     3 The Defendants in Asensio v. DiFiore are Janet Marie DiFiore, chief judge of New York State; Barbara Underwood,
     former attorney general of New York State; Andrew M. Cuomo, governor of New York State; Adetokunbo O. Fasanya,
     New York County Family Court magistrate; and Emilie Marie Bosak, Eva Asensio’s mother.

     4
      A copy of the complaint’s first page is including in Exhibit 1 Exhibit 2 of the March 5, 2019 Complaint, which itself in
     hereto.



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 1
 2                 It is an indisputable and undeniable fact that New York State Chief Judge Janet
 3                 Marie DiFiore (“Defendant DiFiore”) retaliated against the Plaintiffs as a direct
 4                 response to the Plaintiff’s investigations into Defendant DiFiore’s ongoing
 5                 malicious use of the federal courts’ so-called “domestic relations exception to
 6                 Article III or federal subject matter jurisdiction.” The Plaintiffs define the acronym
 7                 “DRE” as the “domestic relations exception.” Defendant DiFiore uses the DRE to
 8                 protect her ability to use her powers5 wantonly, as she has done in the Plaintiff’s
 9                 post-divorce judgment actions against Emilie Marie Bosak (“Defendant Bosak”)
10                 and to protect her impermissible ‘use tax’ scheme and her malicious domestic
11                 relations process. The process is entirely based on deliberate and malicious
12                 fabrications that are created without legitimate jurisdiction, rules, controls,
13                 standards, or codes. The process’ central purpose is the fabrication of charges,
14                 evidence, fees and judgments based on concealed impermissible ideological rules.
15                 The Plaintiff defines the acronym “PIDRP” to mean Defendant DiFiore’s
16                 “prohibited and impermissible domestic relations process.” The DRE is a
17                 counterintuitive, counterfactual, prejudicial and unsupported blind sanctioning of
18                 Defendant DiFiore’s wanton crimes against the public.
19
20       7.        Paragraph 9 of the Asensio v. DiFiore complaint states that:
21
22                 The Plaintiff is challenging the federal courts’ use of the so-called “domestic
23                 relations exception to Article III or federal subject matter jurisdiction” (“DRE”) in
24                 this case involving conscious government wrongdoing in a simple, normal,
25                 routine, post-divorce judgment child custody dispute exclusively concerning
26                 private matters, such as religion and private moral and political beliefs, where
27                 government jurisdiction is legally most limited and where there are allegations of
28                 government action … [to] fabricate jurisdiction…
29
30       8.      As demonstrated in the March 5, 2019 Complaint, Judges Katzman and Abrams purpose in
31       planting their story in the New York Daily News was to sanction DiFiore’s scheme to fabricate
32       jurisdiction over strictly private family matters. The Daily News story is their communion with
33       DiFiore. The commune is a group of New York federal judges that are allowing DiFiore to
34       deliberately cause misunderstanding for political purposes. They use agitation, aggravation,

     5
         Defendant DiFiore is the Chief Judge of the State and the Court of Appeals. She is also the Chair of the Administrative
          Board of the Courts, which sets the state’s judicial standards and policies, the Head of the Office of Court
          Administration, and the sole state official responsible for the supervision of the Justice Department’s ethics and judicial
          conduct education. She holds the state’s only power under Judiciary Law §212(1) (h) to directly investigate judicial
          misconduct, while controlling, along with the governor, the state’s commission for the adjudication of judicial
          misconduct.


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 1   disturbances and disruptions in civil, peaceful, good American lives, such as that of the Plaintiffs,
 2   to create income streams for their political schemes. They fabricate conflict and confrontation. As
 3   a result, Judges Katzman and Abrams have made themselves material witnesses in the Asensio v.
 4   DiFiore case. Specifically, Judges Katzman and Abrams’ misconduct is evidence that a basic part of
 5   DiFiore’s retaliation against the Plaintiffs is her role in the fabrication of her December 29, 2015
 6   story.
 7
 8                            THE DRE IS A SHIELD FOR ULTRA VIRES ACTIONS
 9                 AND THE ANTITHESIS OF FAIR AND EFFECTIVE ADMINISTRATION OF JUSTICE
10
11   9.      The Asensio v. DiFiore case is not about the distinction between what is truly national and
12   what is truly local. The Asensio v. DiFiore case is about what it strictly non-economic, private,
13   moral, and religious, which must be free from what any government, state or federal, has any right
14   to regulate and what it does not. The federal state process to establish this clear line between the
15   political and the legal in private lives has been disturbed by the DRE.
16
17   10.     The March 5, 2019 Complaint demonstrates that the Hon. Chief Justice has taken ultra vires
18   actions. These ultra vires actions are not only beyond the power of the Chief Justice but exceed
19   the power of the US Congress. It is US law that citizens must have the right to access US Courts to
20   protect themselves from state government actors that pretend to regulate the “habitations…the
21   chambers and nurseries of private families, and … the morals and habits and affections or
22   antipathies of the members of every household.”6 By allowing federal judges to use the DRE to
23   protect ultra vires state actions in US courts, the Hon. Chief Justice is allowing New York federal
24   judges (Judges Katzmann and Abrams) to use his own strictly administrative authority to allow
25   DiFiore to operate the PIDRP. The PIDRP is essentially a process that allows New York State family
26   court judges, which in the Asensio v. DiFiore case are appointed by New York City’s Mayor, to act
27   as a general political police power within New York State.
28
29   11.     Asensio v. DiFiore reveals that DiFiore, who was a member of the Republican party, is not
30   truly interested in “social” justice, but economics. The unlawful usurping of parental authority, and
31   the aggravation, agitation, disruptions and disturbances that New York State caused the Plaintiffs’
32   in the Asensio v. DiFiore case was profitable for New York State and its political agents.
33
34   12.     The March 5, 2019 Complaint demonstrates the gravity of the harms that the politically
35   fabricated DRE is causing to America’s constitutionally protected rights and civil private life.
36


     6
         See pages 13 and 14, paragraphs 45 thru 47 of the March 5, 2019 Complaint.



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 1              THE 18-B LAWYERS’ ROLE IN CAUSING PROBLEMS THAT MAKE THE STATE MONEY
 2
 3   13.    The Asensio v. DiFiore case is that DiFiore is operating a post-divorce judgement system to
 4   process complaints by non-custodial parents that deliberately causes problems for families and
 5   that New York State makes money on this process. Nationally in over 80% of cases the non-
 6   custodial parent is the male. 7 The essence of the complaint is that DiFiore supplements her family
 7   court funding by illegally8 and grossly overcompensating 18-b lawyers in private cases and then
 8   having those same lawyers provide her with free and low-cost services in her public family court
 9   cases.9 This is an example of the extent of the corruption that the DRE has allow DiFiore to create
10   in New York State.
11
12   14.     DiFiore’s process not only illegally charges parents but allows the 18-b lawyers to set their
13   own rates and their own agenda without agreements with the parents on the extent of the services
14   or budgets, or any government supervision or control. DiFiore’s process allows the 18-b lawyers
15   to claim contempt even though these 18-b lawyers are not and cannot be parties to the action.
16   Then DiFiore allows the family court magistrates to issue summary contempt and arrest orders to
17   collect fees without process.
18
19   15.     DiFiore’s process imposes 18-b lawyers on parents in run-of-the-mill straight forward cases;
20   for the purpose of ignoring clear violations by the custodial parents to cause problems between
21   parents and fabricate fees in which the state has an interest.
22
23   16.    DiFiore’s process imposes 18-b lawyers on parents without confirming that their ethical,
24   moral, political or religious beliefs are suitable for the family. This is an extremely serious problem
25   in New York City where the Mayor appoints is a declared socialist with a child with a drug addiction
26   problem that is an advocate of smoking marijuana in public even in front of infants and minors. 10
27
28   17.     DiFiore’s process does not allow appeals of the illegal 18-b lawyer appointment orders until
29   after the case is final at the trial level. This is an obvious fraud. By the end of the trial, which is
30   conducted without a jury, the damage has been done. In any case, an appeal is certainly not at all
31   a fair or economic solution to parents faced with DiFiore’s 18-b gobbledygook circumstances.
32


     7
      DiFiore has refused to make any disclosure about awards of full custody in pre-divorce contested custody cases.
     DiFiore has blocked the Plaintiff’s attempts to obtain this information through administrative and legal processes.

     8
       New York State requires the county to pay the cost of any 18-b lawyer appointed in a family county court. Half the
     state (the 3rd and 4th Ads) respects that law. The other half (the 1st and 2nd Ads) ignores the law.

     9
         These are child abuse, child neglect, child abandonment, juvenile delinquents and parental rights termination cases.

     10
       The March 5, 2019 Complaint contains a full disclosure on the Plaintiff’s background and the origins of this federal
     case.


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 1   18.    DiFiore’s process allows ex parte communications between family court magistrates and
 2   the 18-b lawyers. These are individuals with irregular law practices to begin with, they are already
 3   dealing with the family court in other public cases. This creates an enormous bias and conflict for
 4   the parents, this is a government ultra vires that is being forced on parents due to the DRE. It is a
 5   normalization of an extremely controversial ultra vires intrusion in private life by government.
 6
 7   19.     For all the above reasons, the Plaintiff withdraw from the process, and on May 15, 2014
 8   commenced formal a family court magistrate and an 18-b lawyer in New York County Family Court.
 9   At the time, the Plaintiff was not aware both the family court magistrate and 18-b lawyer were
10   acting under the protection of Judge Katzmann and the DRE.
11
12   20.     The above example of the corruption that the DRE has created in New York State is the
13   money-motive for New York State. It is malicious under the Judicial Conferences’ standards for
14   justice, and just and fair process.11
15
16                                        II.      BASIS FOR JURISDICTION
17

18   21.     This complaint is brought pursuant to 18 U.S.C.A. §241; 28 U.S.C.A. §1443 and 42 U.S.C.A.
19   §1983; §1985; §1988 and Federal Rules of Civil Procedure Rule 9 and Rule 38 and demands a trial
20   by jury on all issues contained herein pursuant to the Seventh Amendment of the U.S. Constitution
21   to recover compensatory and punitive damages from the Defendants for intentionally depriving
22   the Plaintiff of his civil, property and due process rights as provided in the Fourteenth Amendment
23   of the U.S. Constitution and New York State laws including his legal rights to seek protection and
24   redress in the US Courts, and New York State, and for conspiring and intentionally using prohibited
25   and impermissible processes, false manufactured evidence and prohibited, impermissible and
26   intentional conduct to deny and disparage the Plaintiff’s unenumerated rights as provided in the
27   Ninth Amendment of the U.S. Constitution.
28
29   22.     Among the Plaintiff’s most important federal rights is the right to be protected against an
30   state ultra vires action, state government using executive power to fabricate subject matter
31   jurisdiction, to fabricate charges that do not exist in the state’s law texts, to manufacture evidence
32   to intentionally deprive the Plaintiff of his private property and to conceal their misconduct
33   through prohibited and impermissible procedural manipulations and brute in-court police force
34   for the sole and intentional purpose of avoiding federal jurisdiction. This action is brought pursuant
35   to 42 U.S.C. §1983, §1985 and §1986 and Fourth and Fourteenth Amendments. Jurisdiction is



     11
       The March 5, 2019 Complaint contains reference to the Judicial Conferences’ justice issues, goals and strategy to
     achieve effective administration of justice.


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 1   founded on 28 U.S.C.A. §1331 and §1343(1) (2) (3) (4) and the statutory and constitutional
 2   provisions.
 3
 4   23.     Plaintiff further invokes the pendent jurisdiction of this court to consider claims arising for
 5   the denial of rights under state law including New York State’s CPLR §136, §600.6, §600.3, §640,
 6   §640.10, §640.9, §3016, §3200 and §5015 and Judiciary Law (“JL”) §35, §36, §36.2, §604.1, §604.2,
 7   §753, §756, § 770, §772, and §773 and Family Court Act (“FCA”) §145, §245 and §248 and §424-a,
 8   and Domestic Relations Law §245, and New York Penal Code §10 containing the definitions of an
 9   offense, crime, felony, public servant and benefit, §15.05 defining culpability and culpable mental
10   states, §20.00 Criminal liability for conduct of another, § culpability, corrupt use of position, public
11   corruption, official misconduct, conspiracy, coercion, scheme to defraud and larceny. New York
12   Constitution Article 6 §23(a) and New York Executive Law Article 5 §63 and §63-a (8) that are
13   applicable to the inherent duties of the state official towards the Plaintiffs.




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 1   II. THE PARTIES
 2
 3
 4   A.      PLAINTIFF INFORMATION
 5
 6   Plaintiff 1:    Manuel              P.                      Asensio                           .
 7                  First Name          Middle Initial              Last Name


 8                  400 East 54th Street, Apt. 24-B                                            .
 9                  Street Address


10                  New York                                NY                    33131            .
11                  County, City                            State                         Zip Code


12                  (917) 515-5200                       mpa@asensio.com                               .
13                  Telephone Number                       Email Address (if available)
14
15   Plaintiff 2:   Eva                 V.                      Asensio    (“Plaintiffs Daughter”)
16                  First Name          Middle Initial              Last Name

17                  355 East 72nd Street, Apartment 17C                                                .
18                  Street Address

19                  New York                   New York             10021                          .
20                  County, City                 State                  Zip Code




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 1   B.    DEFENDANT INFORMATION
 2
 3   Defendant 1:          John       G.              Roberts, Jr.                                 .
 4                  First Name     Middle Initial        Last Name

 5                  Chief Justice of the US Supreme Court and Presiding Judge of the US Judicial
 6                  Conference.
 7                  Current Job Title (or other identifying information)

 8                   1 First Street, NE
 9                  Current Work Address (or other address where defendant may be serviced)


10                  Washington, DC                                     20543.
11                  County, City                State                    Zip Code
12

13   Defendant 2:    Robert A.            Katzmann.
14                  First Name             Last Name

15                  Chief Judge of the US Court of Appeals for the Second Circuit                  .
16                  Current Job Title (or other identifying information)

17                  40 Center Street (40 Foley Square)
18                  Current Work Address (or other address where defendant may be serviced)


19                  New York                New York               10007                      .
20                  County, City               State                       Zip Code
21

22   Defendant 2: Ronnie                Abrams                                            .
23                First Name               Last Name

24                  US District Court Judge, New York Southern District of New York                    .
25                  Current Job Title (or other identifying information)

26                  40 Center Street (40 Foley Square)
27                  Current Work Address (or other address where defendant may be serviced)


28                  New York                New York               10007                      .
29                  County, City               State                       Zip Code
30


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 1                           III.    FEDERAL SUBJECT MATTER JURISDICTION
 2

 3   A.     FEDERAL QUESTION JURISDICTION
 4

 5   24.     The March 5, 2019 Complaint demonstrates that the Hon. Chief Justice, or his deputy or
 6   representative action under his authority at the Judicial Conference, has taken ultra vires actions
 7   to allow the Article III exclusion of civil rights by New York federal judges. These ultra vires actions
 8   are not only beyond the power of the Chief Justice but exceed the power of the US Congress.
 9
10   25.    The Plaintiff claims Federal Question Jurisdiction over these pleadings pursuant to 28 U.S.C.
11   § 1331, to address ongoing violations of Federal Law.
12
13   B. FEDERAL FACT ISSUES
14

15   26.     By allowing Judges Katzmann and Abrams to use the DRE the Asensio v. DiFiore case as a
16   shield they have secretly sanctioned DiFiore to use her administrative powers under New York
17   Constitution Article VI § 28 [Administrative supervision of the courts] and New York Constitution
18   Article VI § 30 [Regulation of jurisdiction, practice and procedure of the courts] to thwart the
19   Plaintiff’s actions against Judge Abrams. Together they have acted and continue to act in an
20   impermissibly, dilatory, evasive, obstructive, contumacious and unauthorized manner to conceal
21   and stifle the Asensio v. DiFiore case.
22
23   27.      By allowing Judges Katzmann and Abrams to use the DRE the Asensio v. DiFiore case as a
24   shield DiFiore has denied the Plaintiff’s rights under FCA § 145, which deliberately, unequivocally
25   and unambiguously abrogates the immunity of family court judges in New York Family Court and
26   under FCA §§ 245 and 248, which is legislation enacted to deliberately, unequivocally and
27   unambiguously command family court magistrates in New York Family Court to charge the state
28   for the cost of an attorney they appoint to represent a child.
29

30   28.      By allowing Judges Katzmann and Abrams to use the DRE the Asensio v. DiFiore case as a
31   shield for deliberate violations of FCA §§ 245 and 248, DiFiore not only manufactures taxes without
32   legislation or representation but can make payments to judicial appointees that provide the UCS
33   with services in other matters.
34

35   29.     By allowing Judges Katzmann and Abrams to use the DRE the Asensio v. DiFiore case as an
36   shield to allow abuse of the discretion on FCA § 1112 under an unpublished administrative order,



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 1   DiFiore yields extraordinary power to prolong and complicate simple, routine, private, normal
 2   post-divorce judgment custody cases to subsidize the cost of family court cases.
 3

 4   30.     By allowing Judges Katzmann and Abrams to use the DRE the Asensio v. DiFiore case as an
 5   shield collusion New York State has created an absolute power within the state government that
 6   is allowed through appointment process of the Chief Judge and all of the members of the New
 7   York State’s Administrative Board of the Courts (“ABC”), the control of the New York State
 8   Commission on Judicial Conduct, vesting in the Chief Judge who individually controls the UCS’
 9   Office of Court Administration (“OCA”), the New York State Judicial Institute, State Advisory
10   Committee on Judicial Ethics (“NYSACJE”) and UCS Department of Public Safety (“NYSDPS”).
11

12   31.     By allowing Judges Katzmann and Abrams to use the DRE the Asensio v. DiFiore case as a
13   shield, the New York District Attorney (“NYDA”) has two different roles in PIDRP. The NYDA’s Public
14   Corruptions Unit is refraining from processing complaints against judges in family court and in the
15   Supreme Court who protected the family court judges, and the NYDA’s Domestic Violence Unit
16   (“DVU”) that manufactured the December 29, 2015 false charges against the Plaintiff.
17
18   32.     By allowing Judges Katzmann and Abrams to use the DRE the Asensio v. DiFiore case as a
19   shield DiFiore has made it obvious to the Plaintiff that she will not restrain herself from using
20   corruption to commit unconstitutional seizures of money from the Plaintiff, and she will not
21   restrain other judges from using corruption to restrain, intimidate, and instill fear in the Plaintiff
22   for acting to exercise his parental rights.
23
24
25                               IV.     DAMAGES AND RELIEF SOUGHT
26

27   33.    Against all the Defendants for breaching a ministerial duty, civil rights violations, due
28   process violations, unauthorized enterprise, obstruction of justice, tampering with evidence and
29   witnesses, conspiracy, malicious abuse of legal process, extortion and subornation the Asensio v.
30   DiFiore case. Plaintiff prays to recover $15,000,000.00 in compensatory damages and
31   $30,000,000.00 in punitive damages.
32

33   34.    Against all the Defendants for fraud, civil rights violations, due process violations, criminal
34   enterprise, obstruction of justice, tampering with evidence and witnesses, conspiracy, malicious
35   abuse of legal process, extortion and subornation the Asensio v. DiFiore case. Plaintiff prays to
36   recover $15,000,000.00 in compensatory damages and $30,000,000.00 in punitive damages.
37



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 1              V.      STATEMENT OF CLAIMS FOR THE DAMAGES AND RELIEF SOUGHT
 2

 3   35.     The Plaintiff firmly, without doubts or apprehensions, advised Judge Abrams in the Asensio
 4   v. DiFiore case that DiFiore is using New York State’s Constitution Article 6 §28 [Administrative
 5   supervision of the courts] and Article 6 §30 [Regulation of jurisdiction, practice, and procedure of
 6   the courts] (“Article IV”) to fabricate the PIDRP and to abrogate the Part 100 Rules so that the
 7   family court magistrates and the superior trial and appeal judges in the New York Supreme Court
 8   take ultra vires actions against the Plaintiffs. This process, the PIDRP, is being protected by the
 9   DRE and Judge Katzmann and Abrams mismanagement of the DRE and the March 5, 2019
10   Complaint.
11
12   FIRST CLAIM FOR DAMAGES AND RELIEF
13
14                             18 U.S.C.A. §241 – Conspiracy against civil rights
15                                        (Against Both Defendants)
16
17   36.    Plaintiff repeats the foregoing allegations in all preceding paragraphs as if set forth fully at
18   length herein.
19
20   37.     The Defendants conspired to violate the Plaintiff’s civil and due process rights by
21   deliberately and maliciously refraining for performing duties that are inherent to their official
22   positions and their common sense, natural, inherent duties to the Plaintiff in the Asensio v. DiFiore
23   case and as a noncustodial parent, the ignoring, disregarding and acting to thwart and stifle the
24   Plaintiff’s complaints.
25
26   38.   WHEREFORE, Plaintiff prays to recover $5,000,000.00 in compensatory damages and
27   $10,000,000.00 in punitive damages.
28
29                               A. SECOND CLAIM FOR DAMAGES AND RELIEF
30
31    42 U.S.C.A. §1983; §1985 and § 1986 – Civil action for deprivation of rights protected by 9th and
32                                         14th Amendments
33                                      (Against All Defendants)
34
35   39.    Plaintiff repeats the foregoing allegations in all preceding paragraphs as if set forth fully at
36   length herein.
37




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 1   40.    Acting under color of State law, the Hon. Chief Justice has negligently failed to instruct,
 2   supervise, control and discipline his employees in the Judicial Conference of their duties to refrain
 3   from allowing the DRE to be used to:
 4
 5          a.) unlawfully and maliciously harassing citizens and residents in New York State’s
 6              Family Court in New York County who were acting in accordance with their
 7              constitutional and statutory rights, privileges and immunities;
 8          b.) unlawfully and maliciously assault citizens and residents in New York State’s
 9              Family Court in New York County, who were acting in accordance with their
10              constitutional and statutory rights, privileges and immunities;
11          c.) conspiring to violate the rights, privileges and immunities guaranteed to
12              citizens and residents by the Constitution and laws of the United States and
13              the laws of the State of New York in New York State’s Family Court in New York
14              County; and
15          d.) Otherwise depriving citizens and residents of their constitutional and statutory
16              rights, privileges and immunities in New York State’s Family Court in New York
17              County.
18
19   41.     Defendants had actual knowledge that its judges and judicial employees had committed
20   acts substantially like those described in this the Asensio v. DiFiore case, but failed to diligently
21   exercise their responsibilities to instruct, supervise, control, and discipline its agents and
22   employees. Defendants knew or should have known of deprivations of constitutional rights and
23   violations of laws alleged herein were likely to continue to take place. Defendants had power to
24   prevent or aid in the prevention of the commission of said wrongs, could have done so with
25   reasonable diligence, but grossly and recklessly neglected, failed or refused to do so.
26
27   42.     Defendants had authority and were required by statute and ordinance to exercise due
28   diligence to instruct, supervise control and discipline its DiFiore on a continuing basis, but
29   intentionally, recklessly or negligently failed to perform such duties as required by law and
30   ordinance.
31
32   43.    Defendants, directly or indirectly, under color of law, approved or ratified the unlawful,
33   deliberate, malicious, reckless and wanton conduct of defendants’ judges and judicial employees
34   and Defendant DiFiore in the Asensio v. DiFiore case and failed to exercise their duties and
35   responsibilities, as aforesaid.
36
37   44.    The acts and omissions of Defendants constitute intentional conduct or gross negligence
38   under § 1983, §1985 and § 1986 of Title 42 of U.S. Code.
39


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 1   45.     As a direct and proximate result of the acts, conduct and omissions of the Defendants as
 2   set forth above, Plaintiff suffered economic, financial, physical and verbal abuse, medical and other
 3   expenses, severe mental anguish and emotional distress in connection with the deprivation of
 4   plaintiff’s constitutional and statutory rights guaranteed by the Fourth, Fifth, Ninth and Fourteenth
 5   Amendments of the Constitution -of the United States and protected by Title 42 United States
 6   Code §1983, § 1985 and 1986 and the Constitution and the laws of the Commonwealth.
 7
 8   46.   WHEREFORE, Plaintiff prays to recover $5,000,000.00 in compensatory damages and
 9   $10,000,000.00 in punitive damages.
10
11                                B. THIRD CLAIM FOR DAMAGES AND RELIEF
12
13                       42 U.S.C.A. §1985 – Conspiracy to interfere with civil rights
14                                        (Against All Defendants)
15
16   47.    Plaintiff repeats the foregoing allegations in all preceding paragraphs as if set forth fully at
17   length herein.
18
19   48.    Defendants acted together in a conspiracy to allow DiFiore to violate state and federal law
20   under the protection of the DRE and to harm Plaintiff.
21
22   49.    The unlawful actions of the Defendants are continuing and should be enjoined.
23
24   50.   WHEREFORE, Plaintiff prays to recover $5,000,000.00 in compensatory damages and
25   $10,000,000.00 in punitive damage.
26
27                               C. FOURTH CLAIM FOR DAMAGES AND RELIEF
28
29                       42 U.S.C.A. §1985 – Conspiracy to interfere with civil rights
30                                         (Against All Defendants)
31   51.    The Hon. Chief Justice’s acts, or the acts of others without the Hon. Chief Justice’s consent,
32   with the Judicial Conference’s members, including Judge Katzmann, directly caused the Plaintiffs’
33   damages including those suffered after Asensio v. DiFiore was files.
34
35   52.    The unlawful actions in the Judicial Conference are continuing and should be enjoined.
36
37   53.   WHEREFORE, Plaintiff prays to recover $5,000,000.00 in compensatory damages and
38   $10,000,000.00 in punitive damage.
39


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